Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 1 of 26 PageID# 6622



                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

              Plaintiffs,

        v.                                   Case No. 1:18-cv-00950-LO-JFA

  COX COMMUNICATIONS, INC., et al.,

              Defendants.



         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
  MOTION FOR DISCOVERY SANCTIONS AND TO PRECLUDE PLAINTIFFS’ USE
                    OF MARKMONITOR EVIDENCE


                        REDACTED PUBLICLY FILED VERSION
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 2 of 26 PageID# 6623



                                                TABLE OF CONTENTS

                                                                                                                                     Page

 I.     INTRODUCTION .............................................................................................................. 1

 II.    LEGAL STANDARD......................................................................................................... 4

 III.   FACTS AND PROCEDURAL HISTORY ........................................................................ 5
        A.        What the MarkMonitor Spreadsheets Purport to Show .......................................... 5
        B.        Plaintiffs and MarkMonitor Produced Substantially Incomplete Versions
                  of a Spreadsheet Purportedly Verifying that the Files Downloaded by Cox
                  Subscribers Were Copies of Plaintiffs’ Copyrighted Works .................................. 6
        C.        The Audible Magic Transaction Logs .................................................................... 8
        D.        MarkMonitor Failed to Retain Its Contemporaneous Copy of the Audible
                  Magic Data .............................................................................................................. 9
        E.        The Destroyed Data Was Material. ....................................................................... 10

 IV.    THE COURT SHOULD PRECLUDE PLAINTIFFS’ USE OF THE
        MARKMONITOR SPREADSHEET ............................................................................... 12
        A.        The MarkMonitor Spreadsheets Are Incomplete, Incompetent and
                  Unreliable Evidence of What They Purport to Show ........................................... 13
                  1.         The MarkMonitor Spreadsheet is Missing Critical Information............... 13
                  2.         Neither Version of the MarkMonitor Spreadsheet Shows that the
                             Files Were Verified at the Time that Infringement Notices Were
                             Sent to Cox ................................................................................................ 14
        B.        The Court Should Preclude Plaintiffs’ Use of the MarkMonitor
                  Spreadsheets .......................................................................................................... 15
                  1.         The MarkMonitor Spreadsheet Is a Summary for Which the
                             Foundation Cannot Be Laid ...................................................................... 17
                  2.         Plaintiffs Had a Duty to Preserve the Evidence and Failed to Do So ....... 18
                  3.         The MarkMonitor Spreadsheet is Not Reliable Evidence of Direct
                             Infringement .............................................................................................. 20

 V.     CONCLUSION ............................................................................................................... 200




                                                                   i
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 3 of 26 PageID# 6624



                                                  TABLE OF AUTHORITIES

                                                                                                                                      Page(s)

 Cases

 Arista Records LLC v. Usenet.com, Inc.,
     608 F. Supp. 2d 409 (S.D.N.Y. 2009)............................................................................4, 17, 20

 U.S. ex rel. Bunk v. Birkart Globistics GmbH & Co.,
    No. 1:02CV1168 AJT/TRJ, 2011 WL 5005313 (E.D. Va. Oct. 19, 2011)..............................15

 Holmes v. Wal-Mart Stores E., L.P.,
    No. 1:10CV75, 2011 WL 1842868 (E.D. Va. Apr. 27, 2011) .................................................15

 Kettler Int’l, Inc. v. Starbucks Corp.,
    81 F. Supp. 3d 495 (E.D. Va. 2015) ........................................................................................16

 Larson v. Bank One Corp.,
    No. 00 C 2100, 2005 U.S. Dist. LEXIS 42131 (N.D. Ill. Aug. 18, 2005) ...............................17

 Levi v. Twentieth Century Fox Film Corp.,
    No. 3:16CV129, 2017 WL 1227933 (E.D. Va. Mar. 31, 2017) ................................................1

 M&T Mortg. Corp. v. Miller,
   No. CV 2002-5410 (NG)(MDG), 2007 U.S. Dist. LEXIS 60610 (E.D.N.Y.
   Aug. 17, 2007) .........................................................................................................................17

 Pillay v. Millard Refrigerated Servs., Inc.,
     No. 09 C 5725, 2013 WL 2251727 (N.D. Ill. May 22, 2013) .................................................17

 Rambus, Inc. v. Infineon Techs. AG,
    220 F.R.D. 264 (E.D. Va. 2004) ..............................................................................................19

 Silvestri v. General Motors Corp.,
     271 F.3d 583 (4th Cir. 2001) .........................................................................................5, 16, 18

 Softech Worldwide, LLC v. Internet Tech. Broad. Corp.,
     No. 1:10cv651, 2010 WL 4645791 (E.D. Va. Nov. 8, 2010) ....................................................1

 Suntrust Mortg., Inc. v. AIG United Guar. Corp.,
    Civ. Action No. 3:09cv529, 2011 WL 1225989 (E.D. Va. Mar. 29, 2011)...............................4

 Taylor v. Mitre Corp.,
    No. 1:11-cv-01247 (LO/IDD), 2012 U.S. Dist. LEXIS 163854 (E.D. Va. Sep.
    10, 2012) ..................................................................................................................................16

 Trigon Ins. Co. v. United States,
     204 F.R.D. 277 (E.D. Va. 2001) ..........................................................................................4, 16


                                                                        ii
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 4 of 26 PageID# 6625



 Vir2us, Inc. v. Invincea, Inc.,
    235 F. Supp. 3d 766 (E.D. Va. 2017) ......................................................................................15

 Vodusek v. Bayliner Marine Corp.,
    71 F.3d 148 (4th Cir. 1995) .....................................................................................................16

 West v. Goodyear Tire & Rubber Co.,
    167 F.3d 776 (2d Cir. 1999).................................................................................................4, 20

 Zubulake v. UBS Warburg LLC,
    220 F.R.D. 212 (S.D.N.Y. 2003) .............................................................................................18

 Other Authorities

 Fed. R. Civ. P. 26(a) ......................................................................................................................15

 Fed. R. Civ. P. 26(e) ......................................................................................................................15

 Fed. R. Evid. 401-402 ....................................................................................................................20

 Fed. R. Evid. 1006 ...................................................................................................................15, 17




                                                                      iii
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 5 of 26 PageID# 6626
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 6 of 26 PageID# 6627



 copies of the works in suit. The MarkMonitor Spreadsheet will be offered by Plaintiffs to show

 that MarkMonitor “matched” files located on peer-to-peer networks to the Audible Magic

 “fingerprints” of the works in suit, before relying on the hash value identifying that “match” to

 detect subsequent infringing works on the computers of Cox subscribers, and before sending a

 copyright infringement notice to Cox.

            Two versions of the MarkMonitor Spreadsheet were provided to Cox in discovery.

                                                                           and produced to Cox by

 MarkMonitor on March 22, 2019 in response to Cox’s third-party subpoena with the Bates number

 “MM000236” (hereinafter, the “‘236 Spreadsheet”).

                                and that version was produced to Cox twice, on February 28 (without

 metadata), and March 25, 2019 (with metadata) by Plaintiffs. The March 25, 2019 version of the

 spreadsheet has the Bates number “Plaintiffs_00286431” (hereinafter, the “‘431 Spreadsheet”).3

 The ‘431 Spreadsheet was relied on by Plaintiffs’ experts to show that MarkMonitor submitted

 copies of the digital files that were the subject of the Cox notices to Audible Magic’s music

 fingerprinting database and determined that there was a “match” between the files located by

 MarkMonitor and Plaintiffs’ copyrighted content. Plaintiffs’ experts did not review the ‘236

 Spreadsheet.

            While the two versions of the MarkMonitor Spreadsheet have critical differences, both

 versions are manifestly incomplete and unreliable because MarkMonitor destroyed the underlying

 data that was sent to it by Audible Magic and from which the MarkMonitor Spreadsheet was

 allegedly compiled. Both versions of the MarkMonitor Spreadsheet were prepared by drawing

 data from a MarkMonitor database which purportedly included all of the information sent to



 3
     See Leiden Decl., Ex. E.


                                                     2
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 7 of 26 PageID# 6628



 MarkMonitor by Audible Magic and relating to the comparisons between peer-to-peer files found

 by MarkMonitor and the corresponding Audible Magic “fingerprint” of the works in question.

 However, deposition testimony confirms that the MarkMonitor database was materially

 incomplete



 This “matching” data is crucial to detecting the alleged infringements at issue because

 MarkMonitor uses it as the basis for concluding that the files purportedly downloaded by Cox

 subscribers can reliably be treated as copies of the works in suit by matching a unique identifier

 for the file known as a “hash” value. Therefore, because MarkMonitor did not retain the

 information received from Audible Magic, the evidence of whether files were verified during the

 period when MarkMonitor sent over 250,000 infringement notices to Cox—was destroyed.

         The materiality of the destroyed evidence omitted from the MarkMonitor Spreadsheet is

 incontestable.

                   itself; i.e., a version of the data that was discarded by MarkMonitor. That analysis

 shows that,

 And the




         The ‘431 Spreadsheet, which was the only version shown to Plaintiffs’ experts, is even

 more problematic than the ‘236 Spreadsheet.




 4
  Plaintiffs seek to recover for alleged infringements occurring only between February 2013 and November 2014.
 However, Plaintiffs are also relying on infringement notices that pre-date this timeframe to claim that Cox was on
 notice of so-called “repeat infringers.”


                                                         3
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 8 of 26 PageID# 6629



                         , before the ‘431 Spreadsheet was produced to Cox, before it was provided to

 Plaintiffs’ experts, and after the filing of this litigation.

            As a consequence of all of these shortcomings, one of the authors of the original

 MarkMonitor Spreadsheet testified that
                                                                                    5
                                                                                        Because MarkMonitor’s

 notices stated that they were verified, because the MarkMonitor ‘236 and ‘431 Spreadsheets will

 be offered to prove that they were verified, and because Plaintiffs’ experts relied exclusively on

 the ‘431 Spreadsheet in opining that they were verified, the failure to produce (or even retain) the

 data from which the MarkMonitor Spreadsheet was supposedly compiled means that the use of

 any version of the MarkMonitor Spreadsheet in this case is improper. Cox therefore requests a

 ruling from the Court that Plaintiffs be precluded from relying on any versions of this document.

 II.        LEGAL STANDARD

            Courts have broad discretion to award discovery sanctions when relevant evidence has

 been spoliated. See Suntrust Mortg., Inc. v. AIG United Guar. Corp., Civ. Action No. 3:09cv529,

 2011 WL 1225989, at *14 (E.D. Va. Mar. 29, 2011) (“spoliation of evidence is an abuse of the

 judicial process that is sanctionable under the inherent power” of the district court); see also Arista

 Records LLC v. Usenet.com, Inc., 608 F. Supp. 2d 409, 443 (S.D.N.Y. 2009); West v. Goodyear

 Tire & Rubber Co., 167 F.3d 776, 780 (2d Cir. 1999) (finding preclusion to be an appropriate

 remedy for plaintiffs’ spoliation). The party seeking a spoliation order in this Circuit must show

 that material evidence was destroyed, “that the adverse party had a duty to preserve the allegedly

 spoiled documents and that the documents were intentionally destroyed.” Trigon Ins. Co. v. United

 States, 204 F.R.D. 277, 286 (E.D. Va. 2001). As this Court held in the BMG litigation, the duty to



 5
     See Declaration of Diana Hughes Leiden (“Leiden Decl.”), Ex. J (Paszkowski Dep., at 129:2-5).


                                                           4
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 9 of 26 PageID# 6630
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 10 of 26 PageID# 6631



 that same version to support her opinion that the MarkMonitor infringement investigations reliably

 identified the infringement of protected works.10

          B.       Plaintiffs and MarkMonitor Produced Substantially Incomplete Versions of a
                   Spreadsheet Purportedly Verifying that the Files Downloaded by Cox
                   Subscribers Were Copies of Plaintiffs’ Copyrighted Works

          Plaintiffs produced the first version of the MarkMonitor Spreadsheet on February 22, 2019

 with Bates numbers “Plaintiffs_00286281.”11 As illustrated below, the spreadsheet



                                       The existence of such a match was allegedly shown by the value
                                                                                         12
                                                                                              The spreadsheet also

 contained the file’s name hash Audible Magic ID and size




                                         (Screenshot of Plaintiffs_00286281)

          Because the origin and support for this spreadsheet was unknown, Cox requested the

 associated metadata, and Plaintiffs re-produced it on March 25, 2019 with Bates numbers

 “Plaintiffs_00286431.” The metadata included in the ‘431 Spreadsheet indicates that it was

 created at
                                                                      13
                                                                           Plaintiffs’ experts relied on the ‘431



 10
    Id., Ex. W (Frederiksen-Cross Initial Report at ¶¶ 51-63).
 11
    See Leiden Decl., Ex. B.
 12
    See Leiden Decl., Ex. W (Frederiksen-Cross Initial Report, ¶ 153); id. Ex. J, (Paszkowski Dep. at 89:17-22).
 13
    See Leiden Decl., Ex. F (Screenshot of ‘431 and ‘236 Spreadsheet metadata).


                                                          6
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 11 of 26 PageID# 6632



 Spreadsheet to opine that the files that were the subject of infringement notices sent to Cox were

 actually copies of the works in suit. For example, Plaintiffs’ expert Barbara Frederiksen-Cross

 opined that the ‘431 Spreadsheet showed

                                         and Plaintiffs’ expert George P. McCabe described it as
                                                                                                              14



          On January 7, 2019 and April 15, 2019, respectively, Cox served document subpoenas on

 MarkMonitor and Audible Magic, the third parties that were primarily responsible for detecting

 (MarkMonitor) and verifying (Audible Magic) all of the alleged infringements in this case.15 Cox

 sought from MarkMonitor, among other things, databases concerning the notices of alleged

 infringement created by the MarkMonitor system and sent to Cox and any downloads of the works

 in suit. Following motion practice in the Northern District of California, MarkMonitor produced

 documents responsive to these requests under court order in late March 2019.16 One of the

 documents that MarkMonitor produced was the ‘236 Spreadsheet, which according to its metadata




                                                                     17




 14
    Id., Ex. X (Frederiksen-Cross Reply Report at ¶11); Ex. Z (McCabe Report, Appendix 2).
 15
    See Leiden Decl., Ex. A (MarkMonitor Subpoena); Ex. N (Audible Magic Subpoena). Cox did not immediately
 serve a third party subpoena on Audible Magic because Plaintiffs did not disclose the company as a relevant witness
 in their initial disclosures. Leiden Decl., ¶13; Ex. R. It is worth noting that it was incredibly difficult for Cox to obtain
 responsive documents and information from MarkMonitor, despite their critical importance to Plaintiffs’ claims. Cox
 served the document subpoena in January and had to move to compel in the Northern District of California in order
 to receive a complete set of documents and examine the source code months later. Cox then had to go back to that
 court multiple times in order to take the 30(b)(6) deposition of MarkMonitor because MarkMonitor insisted that certain
 relevant witnesses were located abroad and refused to educate U.S. witnesses. Cox ended up taking one such
 deposition of MarkMonitor’s Lithuanian technical witness by video on the final day of discovery because
 MarkMonitor and Plaintiffs refused to agree that Cox’s counsel could depose the individual in person. See id., ¶23.
 16
    Id., Ex. C (Cox Communications, Inc., et al v. MarkMonitor, Inc., Case No. Case No. 3:19-mc-80050-SK, ECF No.
 14 ordering MarkMonitor to comply with Cox’s Subpoena); see also Ex. D (March 19, 2019 letter from MarkMonitor
 stating “In the interim, we will move forward with processing the non-source code related requests for production.”).
 17
    See Leiden Decl., Ex. F (Screenshot of ‘431 and ‘236 Spreadsheet metadata).


                                                              7
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 12 of 26 PageID# 6633



        MarkMonitor’s 30(b)(6) designee on technical topics confirmed in deposition that he had

 participated in the creation of the ‘236 Spreadsheet, that it was compiled for purposes of litigation,

 and that it was supposed to be a
                  18



        As set forth in more detail below, both versions of the MarkMonitor Spreadsheet omit the

 foundational data necessary to support their alleged identification of the files that were purportedly

 fingerprint verified by Audible Magic. This missing foundational data was omitted because it was

 not retained by Plaintiffs or MarkMonitor.

        C.      The Audible Magic Transaction Logs

        After learning that Audible Magic provided MarkMonitor with the fingerprinting service

 relevant to this case, Cox subpoenaed Audible Magic, seeking, among other things, “databases,

 indices, or other repositories of information concerning the fingerprinting, identification, and/or

 verification conducted by Your System” of the works at issue.19 Audible Magic produced a

 spreadsheet with the Bates number “REV00003444” (the “Audible Magic Spreadsheet”), which,

 according to its 30(b)(6) deponent,




                       20
                            Specifically, the Audible Magic Spreadsheet



                                                                                     .21 MarkMonitor




 18
    Id., Ex. J (Paszkowski Dep. at 114:4-10); ¶13.
 19
    Leiden Decl., Ex. N (Audible Magic Subpoena, Request No. 6).
 20
    Id. Ex. O (REV00003444). REV00003444 also bore the Bates No. AUDIBLE-MAGIC-0007657.
 21
    Leiden Decl., Ex. Q (Deposition of Vance Ikezoye at 138:10-139:6,
                                                ; see also Ex. P.


                                                   8
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 13 of 26 PageID# 6634
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 14 of 26 PageID# 6635



 MarkMonitor on July 12, 2019 specifically requesting the transaction logs.25 Cox explained what

 the transaction logs showed, how they were responsive to Cox’s subpoena, and why the ‘236

 Spreadsheet and other spreadsheets produced by MarkMonitor were not adequate substitutes for

 the logs themselves.26,27 As of the time of this filing, MarkMonitor has never responded to Cox’s

 request and it has not produced the transaction logs or the underlying database.

        Ultimately, Cox learned in a deposition on the last day of discovery that MarkMonitor did

 not produce the transaction logs at issue or the relevant database because it had destroyed them.

 The MarkMonitor 30(b)(6) designee testified that



                       .28 In other words, the copy of the 2012-2014 Audible Magic data—that is,

 the data from the timeframe when the alleged infringement occurred—was sent to MarkMonitor,

 but it was not retained. MarkMonitor destroyed this data notwithstanding that



                                                                   29
                                                                        Moreover, in discharging this

 obligation, MarkMonitor was supposed to



                                                              30



        E.      The Destroyed Data Was Material.

        The destroyed Audible Magic data was undeniably material and foundational to the




 25
    See Leiden Decl., Ex. AA (July 12, 2019 email from Leiden to Castricone).
 26
     MM00237-244 appear to be derivative spreadsheets that mirror the information in MM00236 and
 Plaintiffs_00286430,
 27
    Leiden Decl., Ex. AA (July 12, 2019 email from Leiden to Castricone).
 28
    See Leiden Decl, Ex. J (Paszkowski Dep. at 97:19-98:12).
 29
    See Leiden Decl., Ex. T                          at ¶ 2.1, RIAA_00000017-18).
 30
    See Leiden Decl, Ex. U                          , at ¶ 3, RIAA_00000006)


                                                 10
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 15 of 26 PageID# 6636



 MarkMonitor Spreadsheet. For starters, the MarkMonitor Spreadsheet was supposed to be a

 summary of the matching results received from Audible Magic. As such, its veracity necessarily

 rests on the extent to which it accurately summarized that information. Without that underlying

 information, there is no way to assess the accuracy of the summary. Yet, MarkMonitor’s 30(b)(6)

 technical designee testified that
                                             31
                                                  The Audible Magic data that was not captured until after

 2015 included:




                                        32
                                             Therefore, none of this contemporaneous information that the

 MarkMonitor Spreadsheet purports to summarize actually exists in MarkMonitor’s files from the

 time that Plaintiffs allege that Cox subscribers downloaded their copyrighted works (2012-2014).

 This is critical because the files that MarkMonitor purportedly “matched” using Audible Magic

 were then used to match the subsequent infringing files downloaded by Cox subscribers, at which

 point notices were sent.

         Moreover, for the reasons noted above, review of the Audible Magic version of this data

 from the 2012-2014 period, during which it was routinely destroyed by MarkMonitor, strongly

 suggests that the summary embodied by MarkMonitor Spreadsheet is inaccurate. Plaintiffs’

 experts have opined that Plaintiffs’ ‘431 Spreadsheet, a derivative of MarkMonitor Spreadsheet,




 31
   See Leiden Decl., Ex. J (Paszkowski Dep. at 126:13-17).
 32
   See Leiden Decl., Ex. J (Paszkowski Dep. at 80:22-81:18). See also Leiden Decl., Ex. P (Plaintiff’s Dep. Exh. 150,
 Excerpts from 2012-2014 Audible Magic transaction log



                                                         11
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 16 of 26 PageID# 6637



                                                                  33
                                                                       But the Audible Magic data that exists

 in Audible Magic’s files shows that cannot be true,



                       34
                            Thus,

                                                                                              .35

             Finally, there are a handful of records in the ‘236 version of the MarkMonitor Spreadsheet

 for which Audible Magic data was received and retained by MarkMonitor, albeit,



       .36



                                                                           .37

                                                                           ,38

 indicates that it was roughly a coin flip as to whether the MarkMonitor system had actually

 identified an infringing work when it sent a notice.

 IV.         THE COURT SHOULD PRECLUDE PLAINTIFFS’ USE OF THE
             MARKMONITOR SPREADSHEET

             The MarkMonitor Spreadsheet relied on by Plaintiffs and their experts is not competent

 evidence that Cox subscribers downloaded Plaintiffs’ works in suit.                      The MarkMonitor

 Spreadsheet purports to be a summary of the results of the Audible Magic fingerprinting analysis.

 However, given that the foundational data that would theoretically show this does not exist

 (because it was spoliated by Plaintiffs’ agent, MarkMonitor), and given that what foundational


 33
    Id., Ex. X (Frederiksen-Cross Reply Report at ¶59).
 34
    See Leiden Decl., Ex. V (Feamster Rebuttal Report at ¶¶35, 156-159).
 35
    Id.
 36
    See Leiden Decl. ¶10; Ex. J (Paszkowski Dep. at 97:19-98:12).
 37
    Id. at ¶12; Ex. K (MM000236 spreadsheet, sorted).
 38
    See Leiden Decl., Ex. W (Frederiksen-Cross Report at ¶81).


                                                        12
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 17 of 26 PageID# 6638



 data does exist is inconsistent with the purported facts that the MarkMonitor Spreadsheet

 purportedly summarizes, Plaintiffs should be precluded from relying on any version of the

 MarkMonitor Spreadsheet for any purpose.

         A.       The MarkMonitor Spreadsheets Are Incomplete, Incompetent and Unreliable
                  Evidence of What They Purport to Show

                  1.       The MarkMonitor Spreadsheet is Missing Critical Information



                                                                                           . Neither

 version of the MarkMonitor Spreadsheet, nor the derivative spreadsheets, have Audible Magic

 data for the relevant period.




                        This confirmation (or disconfirmation) of a match was further documented by

 data sent by Audible Magic showing




                                               40



         The significance of the missing data is shown by



                                                                                         .41 As such,


 39
    Leiden Decl., Ex. J (Paszkowski Dep., at 80:22-81:5).
 40
    Id. (Paszkowski, Dep., at 81:6-14).
 41
    Id. at ¶12; Ex. K (MM000236 spreadsheet, sorted).


                                                            13
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 18 of 26 PageID# 6639



 the data that is in the ‘236 Spreadsheet, but missing from the ‘431 Spreadsheet, belies the claim

 that either Spreadsheet accurately summarizes data purporting to show that 100% of the works in

 suit were matched at all,                                             .42

          Moreover, Dr. Feamster’s analysis of the 2012-2014 data from Audible Magic itself (i.e.,

 the data which is missing from both the ‘431 and the ‘236 versions of the MarkMonitor

 Spreadsheet)
                                                                                                              43



 MarkMonitor’s version of the missing data would presumably show the same thing as Audible

 Magic’s data, if it were extant.

                   2.       Neither Version of the MarkMonitor Spreadsheet Shows that the Files Were
                            Verified at the Time that Infringement Notices Were Sent to Cox

          In addition to the problems caused by the missing data, the MarkMonitor Spreadsheet is

 problematic because of the date on which it was created. The ‘236 Spreadsheet was created in

                        for purposes of litigation, and the ‘431 Spreadsheet was a

                                               .44 MarkMonitor’s 30(b)(6) deponent confirmed that the

 works listed in the MarkMonitor Spreadsheets were downloaded multiple times, but were not

 verified each time they were downloaded and that they were verified multiple times, but not each

 instance of verification was recorded.45 That is because, both versions of the MarkMonitor

 Spreadsheet reflect data not for each download or verification, but only for the last download or
                                                                                     46
 verification, as of the time they were created                                           As a consequence,




 42
    See Leiden Decl., Ex. W (Frederiksen-Cross Report at ¶81).
 43
    See Leiden Decl., Ex. V (Feamster Report at 25).
 44
    See Leiden Decl., Ex. J (Paszkowski Dep. at 128:4-13 (stating that the spreadsheet was created
                                        ; see also id., Ex. F (screenshot of ‘236 and ‘431 metadata).
 45
    See Leiden Decl., Ex. J (Paszkowski Dep. at 123:17-124:10, 125:6-13.).
 46
    Id., at 128:14-129:5.


                                                          14
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 19 of 26 PageID# 6640



                               47
                                    In other words, neither version of the MarkMonitor Spreadsheet

 contains any evidence that files were matched to Plaintiffs’ fingerprinted works at or before the

 time that notices were sent to Cox.

            B.     The Court Should Preclude Plaintiffs’ Use of the MarkMonitor Spreadsheets

            A party is not permitted to produce evidence favorable to it, and withhold evidence that is

 unfavorable. See Fed. R. Civ. P. Rule 26 (a) and (e) (requiring the parties to disclose all relevant

 information during discovery); see also Holmes v. Wal-Mart Stores E., L.P., No. 1:10CV75, 2011

 WL 1842868, at *6 (E.D. Va. Apr. 27, 2011) (ordering sanctions against plaintiff for, among other

 things, “intentionally failing to produce relevant documents” during discovery); Vir2us, Inc. v.

 Invincea, Inc., 235 F. Supp. 3d 766, 779 (E.D. Va. 2017) (finding that sanctions were appropriate

 where defendants failed to produce responsive and relevant evidence).

            This rule is particularly applicable to documents that are offered as summaries of large

 compilations of data, as they cannot be introduced as evidence unless the underlying data is

 “available for examination or copying or both.” Fed. R. Evid. 1006; see also U.S. ex rel. Bunk v.

 Birkart Globistics GmbH & Co., No. 1:02CV1168 AJT/TRJ, 2011 WL 5005313, at *8 (E.D. Va.

 Oct. 19, 2011) (plaintiff failed to satisfy the requirement of Rule 1006 because it could not

 “produce the database or underlying documents that supported the exhibits” and defendants “had

 no real opportunity to test their accuracy or reliability”).

            Finally, a party certainly cannot destroy records that are inconsistent with the facts as it

 would like them to be. “Spoliation is the willful destruction of evidence or the failure to preserve

 potential evidence for another’s use in pending or future litigation.” Trigon Ins. Co. v. U.S., 204

 F.R.D. 277, 284 (E.D. Va. 2001) (citing West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 778



 47
      Id.


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Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 20 of 26 PageID# 6641



 (2d Cir. 1999); Silvestri, 271 F.3d at 590 (noting that courts have “inherent power” to impose

 sanctions for spoliation, which “refers to the destruction or material alteration of evidence or to

 the failure to preserve property for another’s use as evidence in pending or reasonably foreseeable

 litigation.”). Indeed, “[i]t has long been the rule that spoliators should not be able to benefit from

 their wrongdoing.” Trigon, 204 F.R.D. at 284 (“[r]ecognizing acts of spoliation and punishing the

 spoliators is the result of judicial recognition that the ‘spoliated physical evidence’ is often the best

 evidence as to what has really occurred and that there is an inherent unfairness in allowing a party

 to destroy evidence and then to benefit from that conduct.”).

         While courts have wide discretion to fashion an appropriate remedy for spoliation, “the

 applicable sanction should be molded to serve the prophylactic, punitive, and remedial rationales

 underlying the spoliation doctrine.” Silvestri, 271 F.3d at 590; see also Vodusek v. Bayliner

 Marine Corp., 71 F.3d 148, 156 (4th Cir. 1995) (“the trial court has discretion to pursue a wide

 range of responses both for the purpose of leveling the evidentiary playing field and for the purpose

 of sanctioning the improper conduct.”). Courts routinely grant evidentiary sanctions where, as

 here, relevant information and data has been spoliated or otherwise not retained. See Kettler Int'l,

 Inc. v. Starbucks Corp., 81 F. Supp. 3d 495, 500 (E.D. Va. 2015) (noting that courts may sanction

 parties for spoliating evidence that disrupts the judicial process in a number of ways including,

 “dismissal or judgment by default, preclusion of evidence, an adverse inference instruction, a

 monetary fine, and/or an assessment of attorney’s fees and costs”) (citations omitted); see also

 Taylor v. Mitre Corp., No. 1:11-cv-01247 (LO/IDD), 2012 U.S. Dist. LEXIS 163854, at *30 (E.D.

 Va. Sep. 10, 2012) (dismissing action because plaintiffs’ destruction of evidence was particularly

 prejudicial to defendants and “dismissal is not an uncommon sanction imposed by courts to remedy

 spoliation caused by a party deleting files from its computer system”); Pillay v. Millard




                                                    16
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 21 of 26 PageID# 6642



 Refrigerated Servs., Inc., No. 09 C 5725, 2013 WL 2251727, at *1 (N.D. Ill. May 22, 2013)

 (sanctioning defendants with an adverse jury instruction for allowing its computer program to

 automatically delete underlying data); see also Larson v. Bank One Corp., No. 00 C 2100, 2005

 U.S. Dist. LEXIS 42131, at *48 (N.D. Ill. Aug. 18, 2005) (sanctioning defendants in the form of

 jury instructions and precluding defendants from cross-examining an expert upon finding that

 defendants spoliated “underlying data, calculations and documents,” which prejudiced plaintiffs

 from proving defendant’s material misrepresentations).

        Furthermore, precluding a party from relying on incomplete or unreliable evidence is the

 appropriate sanction where the best or most complete evidence to prove a particular fact has been

 spoliated by that party. Arista Records, 608 F. Supp. 2d at 443 (because the defendant had

 spoliated its own records of actual downloads and uploads of digital music files by its paid

 subscribers, the defendant was precluded from presenting any evidence challenging the plaintiffs’

 statistical evidence of infringement on the Usenet platform, including incomplete usage data that

 “would provide a distorted picture of the level of infringing activity on Defendants’ system”); see

 also M&T Mortg. Corp. v. Miller, No. CV 2002-5410 (NG)(MDG), 2007 U.S. Dist. LEXIS 60610,

 at *38 (E.D.N.Y. Aug. 17, 2007) (precluding defendants from offering summary evidence to

 oppose the plaintiff’s allegations because they spoliated the direct records).

                1.      The MarkMonitor Spreadsheet Is a Summary for Which the Foundation
                        Cannot Be Laid

        A document which purports to summarize underlying data cannot be admissible evidence

 unless the underlying data is made available for copying and inspection. See Fed. R. Evid. 1006

 (“The proponent may use a summary, chart, or calculation to prove the content of voluminous

 writings, recordings, or photographs that cannot be conveniently examined in court.            The

 proponent must make the originals or duplicates available for examination or copying, or both …



                                                  17
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 22 of 26 PageID# 6643



 [a]nd the court may order the proponent to produce them in court.”). The data that underlies the

 MarkMonitor Spreadsheet is the transaction log compiled by Audible Magic, a copy of which was

 provided by Audible Magic to MarkMonitor. MarkMonitor’s version of that data no longer exists,

 and the portions of the data that do exist contradict the “summary” that the MarkMonitor

 Spreadsheet purports to provide. Accordingly, the MarkMonitor Spreadsheet is not a competent

 summary that can be offered to prove any fact at issue in this case.48

                   2.       Plaintiffs Had a Duty to Preserve the Evidence and Failed to Do So

          It cannot be seriously disputed that Plaintiffs had a duty to retain their own evidence, and

 their agent’s evidence, of the alleged direct infringements in this case. Plaintiffs anticipated the

 need for this data                                                                               and MarkMonitor

 was obligate to honor that contractual commitment. Zubulake v. UBS Warburg LLC, 220 F.R.D.

 212, 217 (S.D.N.Y. 2003) (a litigant is under a duty to retain evidence that is likely to be requested

 by the other side); see also Silvestri, 271 F.3d at 591 (affirming the district court’s dismissal of the

 action for plaintiffs’ spoliation and noting that “[t]he duty to preserve material evidence arises not

 only during litigation but also extends to that period before the litigation when a party reasonably

 should know that the evidence may be relevant to anticipated litigation”). Indeed, this Court in

 the BMG litigation held as much when it sanctioned plaintiffs for spoliating material evidence

 because they had a duty to preserve evidence generated by its agent, Rightscorp, “since at least

 2013.”49 Once a plaintiff reasonably foresees litigation, he or she “has a duty to suspend any



 48
     Conceivably, the Audible Magic version of the transaction logs would cure this problem. However, Plaintiffs’
 expert has opined                                                                          See Leiden Decl., Ex. X,
 (Frederiksen-Cross Reply Report, at ¶¶ 11-14). If this issue gets to trial, Cox will dispute Plaintiffs’ claim that the
 Audible Magic Spreadsheet is materially incomplete. Regardless, for the purposes of this motion, Plaintiffs cannot
 contend both that the Audible Magic Spreadsheet is unreliable because it
      , and that the MarkMonitor Spreadsheet is reliable notwithstanding that is has none of that data.
 49
    See Leiden Decl., Ex. BB (BMG Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., Case No. 1:14-cv-01611-LO-JFA,
 ECF. No. 447, Order on Defendants’ Motion for Evidentiary Sanctions).


                                                          18
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 23 of 26 PageID# 6644



 routine document purging system that might be in effect and to put in place a litigation

 hold.” Rambus, Inc. v. Infineon Techs. AG, 220 F.R.D. 264, 290 (E.D. Va. 2004) (citing Silvestri,

 271 F.3d at 591). Here, Plaintiffs used MarkMonitor to



           .50    MarkMonitor did, in fact, retain the information relating to Audible Magic

 fingerprinting summarized in the MarkMonitor Spreadsheet. They just did not retain the data on

 which that Spreadsheet was based. But that is not enough. Plaintiffs had a duty to ensure that all

 of this evidence was retained—and not just the portions favorable to them.

         As set forth above, the MarkMonitor Spreadsheet is based on selected data from a database

 that was not produced, and the source data that should have populated that database

                                                      See supra, Section B. While MarkMonitor retained

                                                        summarized in the MarkMonitor Spreadsheet, that

 data was created in 2015 or later; that is, after the fact. Moreover, it is not just that this data was

 not produced, but that the data from the period in question was destroyed. As set forth above,

 critical Audible Magic data showing whether there was a “match” between an allegedly infringing

 file located by MarkMonitor and Audible Magic’s database of Plaintiffs’ fingerprinted works from

 the relevant timeframe was created by Audible Magic and shared with MarkMonitor, but not

 retained by MarkMonitor. See supra, Section B. Because Plaintiffs failed to preserve and produce

 the best and most complete—indeed, the only—evidence of the alleged direct infringements, the

 Court should preclude Plaintiffs from relying on the ‘236 and ‘431 Spreadsheets, and any



 50
    See Leiden Decl., Ex. T (2012 Statement of Work at RIAA_00000026) explaining how data collected by
 MarkMonitor for the RIAA is “recorded and stored in the infringement database as evidence of the infringing activity”
 and that DtecNet (MarkMonitor) could provide an affidavit or other legal documentation to support the evidence
 gathered).



                                                         19
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 24 of 26 PageID# 6645



 derivative documents, which are merely incomplete and inaccurate summaries of what the data

 would have shown. See Arista Records, 608 F. Supp. 2d at 443; West v. Goodyear Tire & Rubber

 Co., 167 F.3d 776, 780 (2d Cir. 1999) (finding preclusion to be an appropriate remedy for

 plaintiffs’ spoliation).

                     3.       The MarkMonitor Spreadsheet is Not Reliable Evidence of Direct
                              Infringement

            Furthermore, evidence is not admissible unless it is relevant. Fed. R. Evid. 401-402.

 Plaintiffs intend to offer the MarkMonitor Spreadsheets to prove that MarkMonitor sent

 infringement notices to Cox on works downloaded by Cox subscribers that were verified to be

 Plaintiffs’ copyrighted works.                But, for the reasons described above, the MarkMonitor

 Spreadsheets do not prove that—they are substantially incomplete and lack any evidence of

 contemporaneous verification. See supra, Section B. Indeed, the only possible evidence of

 verification was destroyed by MarkMonitor. As MarkMonitor’s 30(b)(6) witness acknowledged:



                                          51
                                               MarkMonitor created an incomplete spreadsheet after the fact

 which reflects only partial data and is not probative on the issue of whether the notices were sent

 with respect to copyrighted works. As such, it is not probative of any fact making Plaintiffs’ claim

 of direct infringement more or less likely to be true. Therefore, it should be precluded from the

 record in this case.

 V.         CONCLUSION

            For the reasons set forth above, Cox respectfully requests that the Court grant this Motion,

 issue discovery sanctions against Plaintiffs, and order that Plaintiffs and their experts are precluded

 from relying on the ‘236 and ‘481 Spreadsheets, and any derivative documents, for any purpose.


 51
      See Leiden Decl., Ex. J (Paszkowski Dep. at 129:2-5).


                                                              20
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 25 of 26 PageID# 6646



 Dated: August 14, 2019                       Respectfully submitted,

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                                         21
Case 1:18-cv-00950-LO-JFA Document 238 Filed 08/14/19 Page 26 of 26 PageID# 6647



                                CERTIFICATE OF SERVICE

        I certify that on August 14, 2019, a copy of the foregoing DEFENDANTS’

 MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO PRECLUDE

 PLAINTIFFS’ USE OF CERTAIN EVIDENCE was filed electronically with the Clerk of Court

 using the ECF system, which will send notifications to ECF participants.



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                                               22
